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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF FLORIDA

AARON ALLEN,
                                             Case No. 8:23-cv-806
            Plaintiff

      v.

RELIAQUEST, LLC,

           Defendant
                                         /

                        NOTICE OF APPEARANCE

      NOTICE IS HEREBY given to all parties that Richard M. Hanchett of
Trenam, Kemker, Scharf, Barkin, Frye, O’Neill & Mullis, P.A., is appearing as
counsel for RELIAQUST, LLC. All future pleadings and documents of whatsoever
kind should be directed to Richard M, Hanchett, rhanchett@trenam.com, Trenam,
Kemker, Scharf, Barkin, Frye, O’Neill & Mullis, P.A., at 101 E. Kennedy
Boulevard., Suite 2700, Tampa, Florida 33602-5150 via the Case Management and
Electronic Case Files (CM/ECF) system.


                                 /s/ Richard M. Hanchett
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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on the 21st day of February, 2024, counsel for

Defendant electronically filed the foregoing Notice of Appearance by using the

CM/ECF system which served notice and a copy on all counsel of record.

                                             /s/ Richard M. Hanchett
                                                     Attorney




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